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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

Mitchell Bazzano, individually and on                               1:21-cv-01849
behalf of all others similarly situated,
                                  Plaintiff,

                    - against -                                 Class Action Complaint

Toyota Motor Sales, U.S.A., Inc.,
                                                                 Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.     Toyota Motor Sales, U.S.A., Inc. (“defendant” or “Toyota”) manufactures, markets,

and sells the Supra sports coupe (“Product”).

       2.     The Supra was first produced from 1978 to 2002.

       3.     In 2019, Toyota reintroduced the Supra, but with a chassis, transmission, and engine

made by BMW.

       4.     There have been numerous recalls of the Supra, for reasons relating to radio, seatbelt

and rear camera failures, headlight malfunctions and steering problems.

       5.     While these issues are significant in themselves, they are compounded by the wait

times experienced by Supra owners, unable to have their cars serviced within reasonable amounts

of time.

       6.     The Toyota dealerships who sold or leased the vehicles presently lack the parts,

equipment, and general familiarity with non-Toyota engines and transmissions, which are

necessary to address the issues related to this vehicle and for general issues related to the vehicle.

       7.     The result is that when Supra owners require service or repair, they are subjected to




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excessive delays.

       8.      Supra users are deprived of the full use of their purchases when their vehicles are

unable to be serviced within a reasonable time after their requests.

       9.      Reasonable consumers must and do rely on a company to honestly identify and

describe the components and features of their products.

       10.     Defendant assures purchasers and lessees that it will address and repair issues with

the Supra, within a reasonable amount of time, when this is false and misleading.

       11.     The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.

       12.     Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       13.     Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

       14.     The Product is sold for a price premium compared to other similar products,

approximately $50,000, a higher price than it would otherwise be sold for, absent the misleading

representations and omissions.

                                           Jurisdiction and Venue

       15.     Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       16.     Upon information and belief, the aggregate amount in controversy exceeds $5

million, including any statutory damages, exclusive of interest and costs.

       17.     Plaintiff Mitchell Bazzano is a citizen of Maryland.

       18.     Defendant Toyota Motor Sales, U.S.A., Inc. is a California corporation with a




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principal place of business in Plano, Collin County, Texas.

          19.     The parties are citizens of different states.

          20.     Venue is proper because plaintiff resides in this district and a substantial portion of

the events giving rise to the claims occurred in this district.

                                                    Parties

          21.     Plaintiff Mitchell Bazzano is a citizen of Edgewater, Anne Arundel County,

Maryland.

          22.     Defendant Toyota Motor Sales, U.S.A., Inc., is a California corporation with a

principal place of business in Plano, Texas, Collin County.

          23.     Defendant is a subsidiary of the largest manufacturer of automobiles in the world.

          24.     The Supra appeals to car enthusiasts who value performance and comfort.

          25.     There have been numerous recalls on the Supra since its reintroduction in 2019.

          26.     Upon information and belief, there exist other issues with the vehicle which have not

resulted in recalls but reasonably should have.

          27.     Regardless of the issue, the outcome is the same – Supra owners are unable to have

their vehicles serviced and repaired.

          28.     Plaintiff bought the Product because he valued attributes of performance, comfort,

and reliability.

          29.     When Plaintiff brought, or inquired about bringing, his Supra to the dealership for

servicing and/or repairs, he was told of and/or experienced delays of over six months to return it

to him.

          30.     Plaintiff had to refrain from the full usage of his vehicle during the time in which the

Supra was not serviced or repaired.




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        31.     These delays existed prior to the Coronavirus pandemic and are not related to any

disruption caused by it.

        32.     Instead, they are caused by Defendant’s sale of a Product without necessary support

system in place to account for customary issues faced by owners of any model of car.

        33.     Plaintiff bought or leased the Product for no less than the above-referenced price or

a proportional lease price.

        34.     Plaintiff knows that all cars may have issues, due to the thousands of unique parts

which must flawlessly work together.

        35.     However, Plaintiff expected that a company which sells cars can promptly and

efficiently service and repair them.

        36.     Plaintiff would not have purchased or leased the Product, or would have paid less for

it, if he knew of these issues.

        37.     Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not have the extensive list of quality-control issues, coupled

with the inability to have the car repaired in a timely manner.

        38.     The Product was worth less than what Plaintiff paid and he would not have paid as

much absent Defendant's false and misleading statements and omissions.

        39.     Plaintiff intends to, seeks to, and will purchase the Product again when he can do so

with the assurance that Product's representations are consistent with its composition.

                                          Class Allegations

        40.     The class will consist of all Maryland residents who purchased the Product during

the statutes of limitations for each cause of action alleged.

        41.     Common questions of law or fact predominate and include whether defendant’s




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representations were and are misleading and if plaintiff and class members are entitled to damages.

       42.     Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       43.     Plaintiff is an adequate representative because his interests do not conflict with other

members.

       44.     No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       45.     Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       46.     Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       47.     Plaintiff seeks class-wide injunctive relief because the practices continue.

                    Maryland Consumer Protection Act (“MCPA”), Commercial
                           Law Art., Md. Ann. Code, §§ 13-101 et seq.

                                    (Consumer Protection Statute)

       48.     Plaintiff incorporates by reference all preceding paragraphs.

       49.     Plaintiff and class members desired to purchase a Product was reliable and that

repairs or servicing would occur within a reasonable period of time.

       50.     Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       51.     Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       52.     Plaintiff relied on the representations.

       53.     Plaintiff and class members would not have purchased the Product or paid as much


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if the true facts had been known, suffering damages.

                                             Breach of Contract

       54.     Plaintiff and Defendant formed a contract where in return for Plaintiff’s purchase or

lease of the vehicle, Defendant agreed to repair or service the vehicle within a reasonable amount

of time should any issues arise.

       55.     Defendant was unable to satisfy the contract because it lacked the parts, equipment

and on-site familiarity with engines and transmissions made by companies other than Toyota.

       56.     Plaintiff was damaged by Defendant’s breach through the inability to use his vehicle

in its fully functioning form.

                                    Breaches of Express Warranty,
                               Implied Warranty of Merchantability and
                         Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       57.     The Product was manufactured, marketed, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it was reliable and that repairs or servicing

would occur within a reasonable period of time.

       58.     Defendant had a duty to disclose and/or provide non-deceptive descriptions,

expectations, and marketing of the Product.

       59.     This duty is based on Defendant’s outsized role in the market for this type of Product.

       60.     Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

       61.     Defendant received notice and should have been aware of these issues due to

complaints by regulators, competitors, and consumers, to its main offices.

       62.     The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because they were not fit to pass in the trade as

advertised.


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       63.     Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

       64.     Defendant had a duty to truthfully represent the Product, which it breached.

       65.     This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area.

       66.     The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant.

       67.     Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       68.     Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud

       69.     Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it was reliable and that repairs or servicing would occur within a reasonable period of time.

       70.     Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       71.     Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.




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                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory damages pursuant to any statutory claims and

       interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: July 23, 2021
                                                          Respectfully submitted,

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